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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS
__________________________________________
                                          )
PRESIDENT AND FELLOWS OF                  )
HARVARD COLLEGE; and                      )
MASSACHUSETTS INSTITUTE OF                )
TECHNOLOGY,                               )
                                          )
Petitioners-Plaintiffs,                   )
                                          )   Civil Action No. 20-cv-11283-ADB
       v.                                 )
                                          )
UNITED STATES DEPARTMENT                  )
OF HOMELAND SECURITY, et. al.             )
                                          )
Respondents-Defendants,                   )
_________________________________________ )

                 DEFENDANTS’ ASSENTED TO MOTION FOR LEAVE
                     TO FILE BRIEF IN EXCESS OF 20 PAGES

       Defendants move this Court to file a brief in excess of twenty (20) pages in support of

their Opposition to Plaintiffs’ Motion for Temporary Restraining Order and Preliminary

Injunction. As grounds therefore, Defendants state that in an attempt to explain the background

of the Student and Exchange Visitor Information System, the Opposition exceeded the page limit

by two pages, not including counsel’s signature block.
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       Accordingly, Defendants move this Court to file a brief in excess of twenty (20) pages.

                                             Respectfully submitted,

                                             ANDREW E. LELLING,
                                             United States Attorney


                                     By:     /s/ Rayford A. Farquhar
                                             Rayford A. Farquhar
                                             Assistant U.S. Attorney
                                             U.S. Attorney’s Office
                                             1 Courthouse Way, Suite 9200
                                             Boston, MA 02210
                                             (617) 748-3100
                                             Rayford.farquhar@usdoj.gov

                             LOCAL RULE 7.1 CERTIFICATION


       The undersigned counsel asserts that he has conferred with counsel for Plaintiffs, William
Lee, regarding this Motion and he assented to the allowance of this Motion.


                                                    /s/ Rayford A. Farquhar
                                                    Rayford A. Farquhar
Dated: July 13, 2020                                Assistant U.S. Attorney




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